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                   EXHIBIT D
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               FINANCIAL INDUSTRY REGULATORY AUTHORITY

                               OFFICE OF HEARING OFFICERS


Department of Enforcement.

                       Complainant.
                                                   DISCIPLINARY PROCEEDING
 v.                                                No. 200801 1593301


Scottsdalc Capital Advisors Corp. (CRD No.         Hearing Officer: M C
1 18786).

and                                                ORDER ACCEPTING OFFER OF
                                                   SETTLEMENT
Justine Hurry (CRD No. 2765969),

                       Respondents.




                                        INTRODUCTION

       Disciplinary Proceeding No. 2008011593301 was tiled on October 21. 2010. by the

Department of Enforcement of the Financial Industry Regulator)" Authority (FINRA)

(Complainant). Respondents Justine Hurry and Scottsdale Capital Advisors. Inc. submitted an

Offer of Settlement (Offer) to Complainant dated October 25. 201 1. Pursuant to FINRA Rule

9270(e). the Complainant and the National Adjudicatory Council (NAC). a Review

Subcommittee of the N A C . or the Office of Disciplinary Affairs (ODA) have accepted the

uncontested Offer. Accordingly, this Order now is issued pursuant to FINRA Rule 9270(e)(3).

The findings, conclusions and sanctions set forth in this Order are those stated in the Offer as

accepted by the Complainant and approved by the N A C .
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       Under the terms of the Offer. Respondents have consented, without admitting or denying

the allegations of the Complaint, as amended by the Offer, and solely for the purposes of this

proceeding and any other proceeding brought by or on behalf of FINRA, or to which FINRA is a

party, to the entry of findings and violations consistent with the allegations of the Complaint, as

amended by the Offer, and to the imposition of the sanctions set forth below, and fully

understands that this Order will become part of Respondents" permanent disciplinary records and

may be considered in any future actions brought by FINRA.

                                         BACKGROUND

       Scottsdale. which is located in Scottsdale. Arizona, became a member of FINRA on May

22. 2002. Respondent Justine Hurry is currently the firm's Chief Executive Officer. Financial

and Operations Principal and Municipal Securities Principal. During FINRA's first examination

of Scottsdale (the findings of which led to the filing of certain aspects of this Complaint)

covering the period April 2006 through January 2008 ("the relevant period"). Hurry was also the

firm's Chief Compliance Officer (CCO) and A M L Compliance Officer. Hurry was also the

A M L Compliance Officer from approximately August 2009 through May 2010. during the

review period of the 2010 cycle examination. During the relevant period, Scottsdale employed

approximately 34 registered persons in approximately seven registered offices.

       Justine Hurry first became registered as a general securities representative with a member

firm in August 1996. She worked for two other member firms before becoming registered with

Scottsdale on May 22. 2002 as a General Securities Representative and Principal, a Municipal

Securities Principal. Equity Trader and Financial and Operations Principal. On November 2.

2009 she also became registered as a Limited Representative -- Investment Banking. Because




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those registrations are currently in effect. Hurry remains subject to FINRA's jurisdiction for

purposes of this proceeding.


                               FINDINGS AND CONCLUSIONS

       It has been determined that the Offer be accepted and that findings be made as follows:

                                      SUMMARY

       From April 2006 through March 2009. Scottsdale Capital Ad\isors Corp. ("Scottsdale" or

"the firm") and its A M L Compliance Officer. Justine Hurry failed to implement the firm's A M L

procedures for monitoring, detecting, documenting, investigating and reporting red flags and

suspicious transactions. Scottsdale and Hurry took inadequate steps to investigate or report

suspicious transactions in which the firm effected sales, as agent, of millions of shares of penny

stocks received by firm customers, through journal transfers and deposits of stock certificates.

The accounts involved were new and were opened at the firm by registered representatives who

worked at the Carlsbad branch office. They were often controlled by persons with questionable

backgrounds and occupations or by persons who maintained multiple accounts at the firm for no

apparent business purpose. In addition. Scottsdale violated N A S D Conduct Rule 2110 in

connection with its sales of unregistered shares of Universal Express and Dicut, Inc. in May.

June and December 2007 and January 2008. The securities were neither registered pursuant to

Section 5 of the Securities Act of 1933 nor exempt from registration. Finally, the firm's

violations also included failures to establish, maintain and enforce reasonable supervisory

procedures and systems, and failures to comply with Rules 3012 and 3013. including failing to

produce reports required by such Rules. Scottsdale and Flurry's conduct violated NASD




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Conduct Rules 3010. 301 1. 3012, 3013. 3110 and 2110, and Scottsdale also \iolated Municipal

Securities Rulemaking Board (MSRB) Rule G-41.

                                  FIRST CAUSE OF ACTION
        AML VIOLATIONS -- NASI) CONDUCT R I L E S 3011(a) AND (b) AND 2110 AND FINRA
          R U L E 2010 BY SCOTTSDALE AND HURRY AND MSRB R I LE G-41 BY SCOTTSDALE


       NASD Conduct Rule 3011, adopted on April 24. 2002 and amended on October 22. 2002

and March 6. 2006. requires all member firms to "develop and implement a written anti-money

laundering program reasonably designed to achieve and monitor the firm's compliance with the

requirements of the Bank Secrecy Act (31 U.S.C. § 5311. ci SL'LJ.). and the implementing

regulations promulgated there under by the Department of the Treasury." It also requires

member firms to "establish and implement policies and procedures that can be reasonably

expected to detect and cause the reporting of transactions required under 31 U.S.C. 53 18(g) and

the implementing regulations thereunder." Similarly. MSRB Rule G-41 requires ""an anti-money

laundering compliance program reasonably designed to achieve and monitor ongoing compliance

with the requirements of the Bank Secrecy Act. 31 U.S.C. 5311. el secj. ("BSA") and the

regulations thereunder."

       The United Stales Department of the Treasury issued the implementing regulation. 31

C.F.R. § 103.19(a)( 1). on July 2. 2002. It provided that, with respect to any transaction after

December 31. 2002. "[e]very broker or dealer in securities within the United States . . . shall file

with FinCEN . . . a report of any suspicious transaction relevant to a possible violation of law or

regulation." Section (a)(2) of that regulation specifically provides:

        A transaction requires reporting . . . if it is conducted or attempted by. at. or
       through a broker-dealer, it involves or aggregates funds or other assets of at least
       $5,000, and the broker-dealer knows, suspects, or has reason to suspect that the
       transaction (or a pattern of transactions of which the transaction is a part):




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               (i)        Involves funds derived from illegal activity or is
                          intended or conducted in order to hide or disguise funds
                          or assets derived from illegal activity (including, without
                          limitation, the ownership, nature, source, location, or control of
                          such funds or assets) as part of a plan to violate or evade any
                          federal law or regulation or to avoid any transaction reporting
                          requirement under federal law or regulation:

               (ii)       Is designed, whether through structuring or other means, to evade
                          any requirements of this part or any other regulations promulgated
                          under the Bank Secrecy Act. . . :

               (iii)      Has no business or apparent law fui purpose or is not the sort in
                          which the particular customer would normally be expected to
                          engage, and the broker-dealer knows of no reasonable explanation
                          for the transaction after examining the available facts, including the
                          background and possible purpose of the transaction: or

               (iv)       Involves use of the broker-dealer to facilitate criminal activity.

       In August 2002. N A S D issued Notice to Members ("NTM") 02-47. which set forth the

final A M L rules promulgated by the United States Department of the Treasury for the securities

industry. This N T M further advised broker-dealers of their duty to file a SAR-SF for any

suspicious transactions occurring after December 31. 2002.

       Concurrent with its adoption of Rule 3011. in April 2002, NASD issued NTM 02-21.

which reminded broker-dealer firms of the requirements of their A M L procedures, including that

A M L procedures apply to:

                       b. monitoring of account activities, including but not limited
                          to. trading and the flow of money into and out of the account,
                          the types, amount, and frequency of different financial
                          instruments deposited into and withdrawn from the account,
                          and the origin of such deposits and the destination of
                          withdrawals; and

                       c. monitoring for. detecting, and responding to "red flags.
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        N T M 02-21 stated that a broker/dealer who detects red Hags should "perform additional

due diligence before proceeding with the transaction."

            The SAR-SF identifies 20 "Typefs] of suspicious activity" that must be reported,

including: "Market manipulation." "Securities fraud/" "Significant wire or other transactions

without economic purpose,"' and "Other."

        Failure to Detect and Investigate Suspicious Activities

        From at least April 2006 through May 2009, Scottsdale's A M L Procedures stated that the

firm would monitor a sufficient amount of account activity to permit identification of unusual

size, volume, pattern or type of transactions.. ..or any of the "red flags" identified in its

procedures. It also indicated that it would look at transactions, including trading and wire

transfers, in the context of other account activity to determine if a transaction lacked financial

sense or was suspicious because it is an unusual transaction or strategy for that customer.

Scottsdale's written A M L program required the firm's A M L Compliance Officer. Justine Hurry,

to monitor for "red flags", to investigate any "red flags" detected, to document any such

investigation and to file Suspicious Activity Report ("SAR-SFs") when appropriate.

       The A M L procedures in effect during FINRA's first examination stated that when a

member of the firm detected a red flag, the member was to investigate further under the direction

of the A M L Compliance Officer. The A M L procedures in effect during FINRA's second

examination, covering the period from January 2008 through March 2009. indicated that

employees would be trained to immediately alert their direct supervising principal or A M L

Officer upon detection of a possible red Hag. Documentation of any ensuing red flag

investigation, with results and further action taken, were to be maintained as part of the A M L

books and records.



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 he Firm's procedures identified a number of red Hags, including, w ithout limitation:

  • 1 he customer wishes to engage in transactions that lack business sense or apparent

  investment strategy, or are inconsistent with the customer's stated business or

  investment strategy;

  •   The customer for a person publicly associated with the customer) has a

  questionable background or is the subject of news reports indicating possible

  criminal, civil, or regulatory violations ("disciplinary background red Hag");

  •   For no apparent reason, the customer has multiple accounts under a single name

  or multiple names, with a large number of inter-account or third-party transfers;

  •   The customer's account has unexplained or sudden extensive wire activity,

  especially in accounts that had little or no previous activity ("wire transfer red Hag");

  •   The customer engages in extensive journal entries between unrelated accounts

  without any apparent business purpose ("journal transfer red flag");

  •   The customer, for no apparent reason or in conjunction with other red ilags.

  engages in transactions involving certain types of securities, such as penny stocks.

  Regulation S stocks and bearer bonds, which although legitimate, have been used in

  connection with fraudulent schemes and money laundering activity. (Such

  transactions may w arrant further due diligence to ensure the legitimacy of the

  customer's activity) ("penny stock red flag"):

  •   The customer maintains multiple accounts, or maintains accounts in the names of

  family members or corporate entities, for no apparent purpose ("multiple account red

  flag").




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        Scottsdale failed, however, to implement its A M L procedures as it did not adequately

monitor for and/or investigate facts and circumstances present in certain customer accounts that

constituted red Hags as described in the written A M L compliance program. These facts and

circumstances arose as a result of the firm's association of registered representatives A R and JP

in May and June of 2007 and activity involving certain customer accounts introduced to the firm

by AR and JP.

        A R and JP operated from Scottsdale's Carlsbad, California, branch office. The primary

activity of AR's and JP's customers involved the deposit and immediate liquidation of large

positions of low-priced equity securities. A R and JP customers also frequently journaled

securities to other, sometimes unrelated, accounts at the firm as compensation for services

rendered, and, when securities were liquidated, often wired the proceeds out of the firm. Some of

the customers of the Carlsbad branch had been the subject of regulatory complaints. The

foregoing represented a new and different type of customer activity for Scottsdale and,

significantly, triggered the following red flags noted in Scottsdale's written A M L compliance

program: the penny stock red flag; the journal transfer red flag; the wire transfer red flag, the

disciplinary background red flag, and the multiple account red flag.

       From April 2006 through May 2008. neither Hurry nor anyone else at Scottsdale took

steps to monitor for the disciplinary background red flag. As such, the firm was unaware during

this time period whether firm customers had a questionable background, though several

customers, including but not limited to, JD, BEL. GE. SE and K Q . had backgrounds that

warranted characterization as questionable based upon the red flag description in the firm's

written A M L compliance program.




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        In addition, from on or about April 2006 through May 2009, Scottsdale failed to develop

and implement a systematic means to identify customers whose accounts raised the multiple

account red flag; further, neither HUITV nor anyone else at the firm took steps to monitor for this

red flag. As a result, between April 2006 and May 2009, the firm failed to not only detect, but

also to investigate, approximately 50 instances in which customer account activity raised the

multiple account red flag. More specifically, the firm failed to investigate whether the

customers had a legitimate purpose for maintaining multiple accounts.

        In addition, from on or about April 2006 through May 2008. neither Hurry nor anyone

else at Scottsdale took steps to monitor for transactions triggering the journal transfer red flag

though Hurry was aware generally that customers were engaged in journal transfers between

accounts. Nevertheless, Hurry and the firm failed to investigate whether these transfers

constituted "red flags" or whether they had legitimate purposes. As a result, Scottsdale did not

                                                  r
identify any of the transactions described below (and in paragraphs 19-23 of the Complaint) as

suspicious, and therefore failed to conduct any sort of investigation of the transactions, although

they triggered the journal transfer red flag, the penny stock red flag and the wire Transfer red flag.

        In May 2007. customer HF received approximately 5,200,000 shares of BioStem, Inc.

(BTEME).     HF joumaled 1.000,000 shares to A T N . During the approximate period May 2007

through September 2007, HF sold approximately 687.000 shares of BTEME generating proceeds

of approximately $198,000.00. During the approximate period May 2007 through June 2007.

A T N sold all 1,000,000 shares received generating proceeds of approximately $1,112,000, and

on six different occasions wired out proceeds totaling approximately $1,110,800.

        On or about April 16, 2007. one of the firm's customers. TOP, received 3 000.000 shares
                                                                                      :




of Spirit Exploration, Inc. (SPXP). It received another 3 million shares on or about May 3.



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2O07. in June and July 2007, TOP journalled approximately 2,974.500 shares to two unrelated

accounts. E M and B C , and sold 25,500 shares. E M and BC joumaled some of their shares to

four unrelated accounts - JR. JJ. JH and C L G (which received approximately 2,750.000 shares

from BC). E M also joumaled approximately 100,656 shares of SPXP to BC. Three of those

accounts sold all shares received and one transferred a portion of its shares to another unrelated

account - L P & A . Certain of the customers wired out funds. E M wired out approximately

$706,000.00 between April and August 2007 in approximately nineteen transactions; JR wired

out approximately $43,000.00 in three transactions in October and November 2007; and L P & A

wired out approximately $462,000.00 in one transaction in October 2007.

        On or about September 20, 2007, FC received 11,000,000 shares of Grand Pacaraima

Gold (GPGD). Between approximately September 2007 and November 2007, FC joumaled

approximately 5,933,300 shares of GPGD to four unrelated accounts - E M C , ESGG, RL and

H M . E M C , ESGG, H M and R L . in turn journalled GPGD shares to other accounts at the firm,

some of which were the same (e.g. V V account). During this same time period, the firm's

customers sold approximately 4,206,200 shares of GPGD generating proceeds of approximately

$77,000.00. This included FC which sold approximately $23,200 worth of GPGD between

October 2007 and March 2008.      Between in or about October 2007 and December 2007, FC

wired out approximately $14,700.00 from its Scottsdale account in eleven transactions.

       On or about April 23, 2007. customer J M received approximately 6.575,517 shares of

BioStem, Inc. (BTEME). which was DTC'd from another broker-dealer. During the approximate

period April 2007 through August 2007, J M sold approximately 3,507,080 shares generating

proceeds of approximately $1,650,000.00. The shares were sold through two accounts. The first

was numbered 150036, which opened in April 2007 with a zero balance. Its value as of June 30,



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2O07, was approximately $1,199,607; by Dec. 31, 2007, the account value was approximately

$42,138. J M opened a separate account numbered                 with Scottsdale. This account

opened with a value as of May 31, 2007, of approximately $1,770,000. By January 31, 2008, the

account value was approximately $2,680 as J M wired out the proceeds from the sale of the

B T E M E stock, in numerous transactions. The activity in these two accounts signaled potential

red Hags as the accounts had sudden extensive wire activity involving the sale of penny stocks, in

accounts that had little or no previous activity.

       Failure to Detect, Investigate and Report Suspicious Activities by filing a SAR-SF

        In some instances, the deposit and liquidation of low-priced equity securities, journal

transfers, wiring of transaction proceeds, maintenance of multiple accounts and questionable

customer backgrounds, individually or in combination, was sufficiently suspicious to warrant the

filing of suspicious activity reports on Form SAR-SF, the reporting form applicable to broker-

dealers. In addition to the failures to monitor for and investigate the presence of red flags and

suspicious activities described above, Scottsdale, acting through Hurry, failed to implement its

written A M L compliance program by failing to file SAR-SF forms to report these activities as set

forth below. In part, the failure to investigate "red flags" and, where required, report suspicious

activity on a Form SAR-SF resulted at least in part from Hurry's belief that the activity need not

be considered suspicious, and Scottsdale did not need to conduct an investigation or file a Form

SAR-SF, if the activity was typical of the business of the customer or of the business of AR's and

JP's customers as a group.

        From on or about April 2007 through June 2007, Scottsdale customers received into their

accounts approximately 14 million shares of Ebenefitsdirect. Inc. (EBFD), via physical stock

certificates. Between approximately May 2007 and December 2007, customers joumaled a total



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of approximately 50 million shares of EBFD to approximately 28 different firm accounts. Often,

the same account that joumaled shares to one account would have those same shares joumaled

back to them from the same account. The firm customers involved in the above transactions are:

DSC: DC: M C : FG: HI: BEL; PD; RO; WH; DA; M A X : MOM: GS: S Y N : D M ; I S ; P\V; \VI;

GE: GG; QS: EH: BF. SP and SL. The firm's customers then sold approximately 3.800.000

shares of EBFD. Certain of these customers then wired the proceeds of EBFD sales out of their

accounts: P\V wired approximately 549,000 in three transactions in July and September 2007; BI

wired approximately $377,000.00 in five transactions between July and December 2007; and GG

wired approximately $19,000.00 in two transactions in September 2007.

        Certain of the customers inv olved in the above-described EBFD transactions maintained

se\eral accounts at Scottsdale. Although this indicated the possible presence of the multiple

account red flag, the firm never conducted any investigation to determine if there was legitimate

purpose or explanation for these separate accounts. In particular, the firm failed to ascertain the

circumstances pursuant to which customer G M was the owner of the BI and GT company

accounts, customer MS was the owner of the TS. FG. SP and PD accounts and customer IS was

the owner of accounts in the name of DC and MC.

        In or about August and September 2007. customers BEL. BI. DSC and WI received

approximately 16.500.000 physical stock certificates for Canam Energy (CXGJ). From August

2007 through January 2008. in approximately 16 journal-entry transactions, approximately 13

million of those same shares were transferred by the above-identified customers to Scottsdale

accounts in the names of customers JC. GE. C\V. BI. A M . C L X . EH. HH. JAC. JJC. DSC. In

several instances customers receiving CNG.I from BEL. BI, DSC and WI returned a portion of

the shares received to the account in which they were deposited originally. The transferring and



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receiving customers, as a group, then liquidated approximately 11.003,300 shares of CNGJ,

generating proceeds of approximately $1,014,000.00. Some of the proceeds were wired out of the

firm under circumstances implicating the wire transfer red flag. For example, between

approximately May 2007 and August 2007, BEL wired approximately $847,000.00 out of its

account in seven separate transactions; between in or about July 2007 and January 2009, BI

wired $617,000.00 out of its account in 8 transactions; and between on or about May 2007 and

February 2008, WI wired approximately $429,000.00 out of its account in ten transactions.

        Notwithstanding the "red flag" implications of this activity, neither Flurry nor anyone

else at Scottsdale took steps to inquire about the journal or wire transfers in order to determine

whether they constituted suspicious activity. Unbeknownst to the firm, two of the customers

                                                                                          :
who received CNGJ stock certificates. B E L and GE (wJiich was controlled by TP), were the

subject of a Complaint filed by the Securities and Exchange Commission in September 2007,

alleging they had engaged in a scheme to evade the registration requirements of the federal

securities laws, at the time they were liquidating their CNGJ holdings.

        Scottsdale did not detect or investigate any of the activity set forth above. The foregoing

facts and circumstances pertaining to the EBFD and CNCJ transactions, particularly the journal

transfers known to the firm, but also the other red flags the firm failed to detect, constituted

activity that was sufficiently suspicious to warrant the filing of a Form SAR-SF.     The firm,

acting through Ms. Hurry, failed to file a Form SAR-SF to report the activity, in violation of

FINRA Rule 3011.

        Failure to Document Red Flag Investigations

                                                        7
        During the first and second exams, Scottsdale s A M L Procedures stated that its A M L

Compliance Officer was responsible for red flag monitoring and for creating a record of when



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and how the monitoring was carried out. Scottsdale failed to implement these A M L procedures.

More specifically, after he was hired in May 2008, the firm's current CCO and Legal Counsel,

M C , began to investigate the backgrounds of certain customers when conducting due diligence in

situations where customers deposited physical certificates. M C learned of customers who had

questionable backgrounds as described in the applicable red flag in the firm's written A M L

compliance program. These customers included E M , TD. TP and SE. Although the written A M L

compliance program specified that the A M L Compliance Officer was to create a record of

questionable background reviews. MC failed to create, or cause the A M L Compliance Officer to

create, such records

        Inadequate A M L Procedures pertaining to Questionable Background Red Flag

        Scottsdale's A M L procedures pertaining to the disciplinary background red flag were not

sufficiently specific to provide any meaningful guidance as to where and how the firm would

look for customers with questionable backgrounds. The procedures did not state when or how

often the firm should undertake a background search (e.g. at account inception or from time to

time thereafter or if triggered by concerns or certain types of account activity), how and by what

means the firm would conduct a search or what further investigation or action should be taken

upon discovery of matters that constituted questionable background as described in the red flag.

These deficiencies contributed to the failure to monitor for this red flag as set forth above.

       The procedures were also inadequate because they did not provide for certain practices

related to background investigations that the firm claimed it employed during the period relevant

to the second examination, including data base searches and a risk-based determination as to the

occurrence of background investigations. The foregoing also constituted violations of NASD




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Conduct Rules 3011(a) and (h) and 2110 and FINRA Rule 2010 by Scottsdale and Hurry and

Municipal Securities Rulemaking Board (MSRB) Rule G-41 by Scottsdale.



                              SECOND CAUSE OF ACTION

 Violation of NASD Conduct Rule 2110 (Sales of Unregistered Securities, in Contravention
                 of Section 5 of the Securities Act of 1933) by Scottsdale

                Sales of Unregistered Shares of Universal Express Inc. (USXP)

      In or about March 2007. BF. an L L C , opened an account with Scottsdale. BF was a

customer of representatives JP and AB at their prior broker-dealer. BE transferred his account to

Scottsdale at or about the time JP and A B were affiliating with Scottsdale. JPP and MB were the

two beneficial owners and control persons of the account. On or about May 8. 2007. BF

deposited two USXP stock certificates evidencing the ownership of a total of 800 million shares

into its account at Scottsdale. The certificates were dated April 27. 2007 and May 3. 2007.

eleven and five days before the certificates were delivered to Scottsdale. The Scottsdale

representatives handling the BF account, accepted orders from BF to sell the 800 million shares,

which were liquidated in approximately twenty-eight sale transactions in May and June 2007.


Scottsdale utilized a means of interstate commerce in connection with its sales of the eight

hundred million USXP shares.


       BF earned net proceeds of approximately S463.300.00 from the sales and Scottsdale

earned approximately Si 7.000.00 in total commissions from the sales. The USXP shares were

not registered pursuant to Section 5 of the Securities Act of 1933 and the transactions were not

exempt from registration. By causing the sale of securities that were neither registered nor

exempt from registration. Scottsdale violated Conduct Rule 2110 in contravention of Section 5 of

the Securities Act of 1933.


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                       Silks of Unregistered Shares of Dicut, Inc.


        On or about June 23. 2007. Dicut. Inc. issued 150 million shares of common stock

pursuant to SEC Rule 701 to RR. On or about July 25. 2007. RR opened an account with

Scottsdale and deposited the Dicut shares into the account. Account documentation identified

AR as the representativ e on the account. Between approximately December 11. 2007 and

January 3. 2008. RR sold all 150 million shares, generating proceeds of approximately

S60.400.00. The Dicut shares were not registered pursuant to Section 5 of the Securities Act of

1933 and the transactions were not exempt from registration. In fact, the Rule 701 shares were

restricted and were not sold, as required, in accordance with the requirements of SEC Rule 144

then in effect.

        Scottsdale utilized a means of interstate commerce in connection with its sales of the

Dicut stock. The Dicut shares were not registered pursuant to Section 5 of the Securities Act of

1933 and the transactions were not exempt from registration. By causing the sale of securities

that were neither registered nor exempt from registration, Scottsdale violated Conduct Rule 2110

in contravention of Section 5 of the Securities Act of 1933.

                                    THIRD CAUSE OF ACTION

 Violations of NASD Conduct Rules 3012 and 3013 and 2110           BY SCOTTSDALE AND HURRY

        From April 2006 through January 2008. Scottsdale. acting through Flurry, failed to

designate and specifically identify to FINRA at least one principal to establish, maintain and

enforce a system of supervisory control policies and procedures as set forth in Conduct Rule

3012.




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        During this same period. Scottsdale. acting through Flurry, also Failed to establish, maintain

and enforce written supervisory control policies and procedures pursuant to Conduct Rule 3012.

More specifically, the procedures did not:


    •      explain how the firm would identify its producing managers;

    •      designate a principal responsible for rev iewing the activity in customer accounts of

           producing managers or state how it would ensure that such principal was either senior to

          or otherwise independent of the producing manager;

    •      address the requirement to notify FINRA electronically of its use of the Limited Si/e and

          Resources Exception:

    •     address the heightened supervision requirements over the activities of each producing

          manager responsible for generating 20% or more of the revenue of the business units

          supervised by the producing manager's supervisor:

    •     address the testing of the firm's written supervisory procedures ("WSPs") to ensure that

          all rules were addressed and to ensure that the firm's WSPs were updated and kept

          current:

    •     address the designated principal's annual report to senior management; and

    •     state how the firm would comply with the requirement that the CEO or a person in an

          equivalent position certify annually that the firm has a process to establish, maintain,

          review, test and modify written supervisory policies and procedures.

          From April 2006 through January 2008. the firm failed to enforce its supervisory control

procedures requiring the review and supervision of customer account activity conducted by its

producing managers as it failed in the first instance to even identity its producing managers.




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        Rule 3012 requires the principal responsible for compliance with the firm's supervisory

control system to submit to the member's senior management no less than annually a report

detailing each member's system of supervisory controls, the summary of the test results and

significant identified exceptions, and any additional or amended supervisory procedures created

in response to the test results. Scottsdale. acting through Hurry did not submit an annual report

to management for 2006 or 2007. in violation of NASD Rule 3012.

        Rule IM-3013 requires members to create a report detailing the process the firm has in

place to establish, maintain, review, test and modify its written compliance policies and written

supervisory procedures. The firm's Chief Executive Officer (or equivalent officer(s). any other

officers the member linn deems necessary to make the certification, must review the Rule 3013

report. Scottsdale did not complete a 3013 report as required under IM-3013 in 2006 or 2007.

        The foregoing constituted violations of NASD Conduct Rules 3012. 3013 and 2110 by

Scottsdale and Hurry.

                                    FOI'RTII CAUSE OF ACTION

         Violations of NASD Conduct Rules 3010 and 2110 by Scottsdale and Hurry

                        Inadequate Written Supervisory Procedures and Failure to
                              Implement Written Supervisory Procedures

        NASD Rule 3010(a) requires firms to "establish and maintain a system to superv ise

activities of each registered representative, registered principal, and other associated person that

is reasonably designed to achieve compliance with applicable securities laws and regulations."

Under NASD Rule 3010(b). these systems must be documented in the firm's written supervisory

procedures. The procedures also must be tailored to the businesses in which the firm engages,

and they also must set out mechanisms for ensuring compliance and for detecting violations, and




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not merely set out what conduct is prohibited. From April 2006 through January 2008. the linn's

WSPs were inadequate for the following reasons:

    •   the firm's procedures were not reasonably designed to detect and prevent the sale of

        unregistered securities:, while they required the firm to gather information concerning

        shares to be sold, they provided no instruction or direction as to the use of such

        information to determine whether a proposed transaction constituted the sale of securities

        that were neither registered nor exempt from registration:

    •   the procedures did not address heightened office inspections of branch and non-branch

        locations as required by 3010(c)(3);

    •   the procedures did not address short sale deliver}' requirements;

    •   the firm's procedures regarding variable annuity replacements and 1035 exchanges were

        not reasonably designed to ensure the firm supervised such transactions w ith a view to

        detecting and preventing inappropriate and unsuitable activity:

    •   the firm had no procedures concerning variable annuity disclosures to customers and

        delivery of variable annuity contracts:

    •   thefirm'sprocedures were inadequate regarding MSRB Rule (_i-14 municipal transaction

        reporting; and

    •   thefirm'sprocedures were inadequate regarding corporate bond transaction reporting

        pursuant to NASD Conduct Rule 6730.


Inadequate Records of Branch and Home Office Inspections - Conduct Rule 3010(c)(2)

        Scottsdale's main office was designated as a branch office of the firm. The firm had no

written records to reflect that it had conducted an inspection of the main office in 2006 or 2007.


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Moreover, Scottsdale" s written reports of its office inspections of branch offices other than the

main office in 2006 and 2007 contained no discussions concerning the testing and verification of

the firm's policies and procedures concerning the following aspects of its business, as

specifically required by Rule 3010(c )(2): safeguarding of customer funds and securities;

maintaining books and records; supervision of customer accounts serviced by branch office

managers; transmittal of funds between customers and registered representatives and between

customers and third parties; validation of customer address changes; and validation of changes in

customer account information.

Failure to Enforce Procedures Pertaining to Letters of Authorization

        During the period from April 2006 through January 2008, Scottsdale did not enforce its

written supervisor}' procedures requiring that the firm obtain, in connection with all journals of

                                                                         v
funds or securities between accounts, a letter of authorization (''LOA" ) from the client

transferring the funds/securities and from the person accepting the funds/securities. Rather, the

firm only obtained an L O A from the transferring customer and not the transferee of shares.

By failing to establish a supervisory system and written supervisory procedures reasonably

designed to achieve compliance with applicable securities laws and regulations and by failing to

enforce its written supervisory procedures as set forth above. Scottsdale and Hurry violated

N A S D Conduct Rules 3010(a) and (b) and 2110. In addition, Scottsdale and Hurry violated

N A S D Conduct Rule 3010(c)(1)(A) in connection with the failure to prepare a report pertaining

to its home office inspection during 2006 and 2007 and NASD Conduct Rule 3010 (c)(2) by its

failure to include in its written branch inspection reports the testing and verification of policies

and procedures pertaining to those areas specifically enumerated in Rule 3010(c)(2).




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Filing of Inaccurate, Incorrect and Inadequate SARS and Failure to Develop a Reasonable
A M L Program

        Under the terms of the Offer. Respondents have aiso consented to the entry of findings

and violations arising out of the 2010 cycle examination of the linn (set forth below), without

admitting or denying the allegations, findings and violations and solely for the purposes of this

proceeding and any other proceeding brought by or on behalf of FINRA, or to which FINRA is a

party, to the imposition of the sanctions set forth below, and fully understands that this Order

will become part of Respondents' permanent disciplinary record and may be considered in any

future actions brought by FINRA.

       The Respondents filed approximately 290 SARS from on or about August 2009 through

April 2010. which contained inaccurate or incomplete information. During this same time period

the Respondents also tiled SARS that failed to provide adequate information for determining that

the reported activity was suspicious.

       In addition, between approximately August 2009 and April 2010. the Respondents failed

to establish and implement policies and procedures reasonably expected to detect and cause the

reporting of transactions required under 31 U.S.C. 5318(g) and the implementing regulations

thereunder by (i) failing to establish a system requiring a that a reasonable determination or

review of suspicious activity be made prior to the filing of SARs: failing to ensure that SARS

were reviewed for accuracy and completeness before being tiled with FinCFN and failing to

establish a reasonable system to review and report suspicious activity which was related in

nature. For example, the procedures did not detail what course of action the firm would take

should suspicious activity be detected, under what circumstances would the firm file a SAR.

refuse a transaction or restrict or close an account. Moreover, the procedures did not incorporate




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the firm's actual practices relating to the completion and filing of SARS. This conduct violated

NASD Rule 301 l(a)(for conduct occurring before January 1. 2010) and FIRNA Rule 3310(a)(for

conduct occurring after January 1, 2010); and FINRA Rule 2010. In addition, Scottsdale's

conduct also violated MSRB Rule G-41.

        Scottsdale sold approximately 1,639.000 shares of S-8 stock for customer GIA between

August and December 2009, that was not available for resale, in violation of FINRA Rule 2010.

In addition, from August 2009 through November 2009. Scottsdale's written supervisory

procedures did not adequately address the circumstances in which S-8 registered slock could be

legally sold, in violation of N A S D Rule 3010(b) and FINRA Rule 2010.

       Based on the foregoing, Scottsdale and Hurry's conduct violated NASD Conduct Rules

3010, 3011,3012. 3013, 3110; 2110 (for conduct occurring before December 15. 2008) and

FINRA Rule 2010 (for conduct occurring after December 15, 2008) and FIRNA Rule 3310(a)(for

conduct occurring after January 1, 2010). Scottsdale also violated MSRB Rule G-41.

       Based on these considerations, the sanctions hereby imposed by the acceptance of the

Offer are in the public interest, are sufficiently remedial to deter Respondents from any future

misconduct, and represent a proper discharge by FINRA, of its regulatory responsibility under the

Securities Exchange Act of 1934.

                                          SANCTIONS

       It is ordered that:

               1. Justine Hurry is suspended from associating with any FINRA member in any

               principal capacity other than the capacity of Financial and Operations Principal for

               40 business days, and fined in the amount of $7,500.00; and

               2. Scottsdale is censured and fined in the amount of $125,000.00 ($40,000.00 of



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            which pertains to the violations of MSRB Rule G-41), which includes the

            disgorgement of $18,000 of commissions earned in connection with violative

            sales of unregistered securities.



     Respondents agree to pay the monetary sanctions upon notice that this Offer has been

     accepted and that such payments are due and payable. Respondents have submitted

     Election of Payment forms showing the method by which they propose to pay the tines

     imposed.



     The sanctions herein shall be effective on a date set by FINRA staff



SO ORDERED.

                                                     FINRA

                                                     Signed on behalf of the
                                                     Director of ODA. by delegated authority



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